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                                UNITED STATES BANKRUPTCY COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                         MIAMI DIVISION
                                        www.flsb.uscourts.gov

    In re:                                                     Chapter 11

    SHIFTPIXY, INC. et, al.1                                   Case No. 24-21209-LMI

          Debtors.                                             (Jointly Administered)
    _______________________________/

                                     CERTIFICATE OF SERVICE
                             (Supplement to Include Additional Notice Parties)

   I HEREBY CERTIFY that copies of the following were served via CM/ECF Notification and/or
U.S. Mail to all parties on the attached service list on the 19 th day of December, 2024:

      1. Notice of (I) Potential Assumption and Assignment of Executory Contracts and Unexpired
         Leases and (II) Cure Amounts [ECF No. 94]
      2. Notice of Filing Asset Purchase Agreement [ECF No. 108]
      3. Notice of Filing Updated Asset Purchase Agreement [ECF No. 138]
      4. Order (I) Authorizing the Sale of all or Substantially All of the Debtors’ Remaining Assets Free
         and Clear of All Encumbrances, (II) Approving the Assumption and Assignment of the Assumed
         Contracts, and (III) Granting Related Relief [ECF No. 140]

     Dated December 19, 2024.
                                                      Respectfully submitted:

                                                      DGIM Law, PLLC
                                                      Counsel for the Debtors
                                                      2875 NE 191st Street, Suite 705
                                                      Aventura, FL 33180
                                                      Phone: (305) 763-8708

                                                      /s/ Isaac Marcushamer
                                                      Isaac Marcushamer, Esq.
                                                      Florida Bar No. 0060373
                                                      Email: isaac@dgimlaw.com
                                                      Daniel Y. Gielchinsky, Esq.
                                                      Florida Bar No. 97646
                                                      Email: dan@dgimlaw.com




1
 The Debtors are: (i) Shiftpixy, Inc.; (ii) Shiftpixy Staffing, Inc.; and (iii) ReThink Human Capital Management, Inc. The
address of the Debtors is 1401 NW 25th Street, Miami, FL 33142.
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                                        SERVICE LIST


Via U.S. Mail to all parties on the attached Mailing List
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SendGrid, Inc
1801 California St
Suite 500
Denver, CO 80202

Twillio Inc
101 Spear Street
San Francisco, CA 94105

MongoDB
1633 Broadway 38th Floor
New York, NY 10019

Amazon Web Services, Inc
410 Terry Avenue North
Seattle, WA 98109-5210

GitLab Inc
268 Bush Street #350
San Francisco, CA 94104

GitHub, Inc.
88 Collin P Kelly Jr Street
San Francisco, CA 94107

HelloSign Inc
1800 Owens Street
Suite 200
San Francisco, CA 94158

IBM Corporation
PO Box 534151
Atlanta, GA 30353-4151

Open AI3180
18th Street
San Francisco, CA 94110

Humantiy.com LLC
PO Box 201292
Dallas, TX 75320-1292

Microsoft
One Microsoft Way
Redmond, WA 98052
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OKTA Inc
100 First Street Suite 600
San Francisco, CA 94105

Google Play
1600 Amphitheatre Parkway
Mountain View, CA 94043

Apple Inc
One Apple Park Way
Cupertino, CA 95014

Egnyte, Inc
1350 West Middlefield Road
Mountain View, CA 94043

DreamHost
417 S Associated Rd
Brea, CA 92821

Wordpress.com
60 29th Street #343
San Francisco, CA 94110

EasyDNS Technologies, Inc
4243C Dundas St W
Etobicoke, ON M8X 1Y3
Canada

Sage Intacct
Dept 3237
PO BOX 123237
Dallas, TX 75312-3237

PrismHR
Bank of America Lockbox Services
Box 11145
Chicago, IL 60661

ADP MasterTax
PO Box 830272
Philadelphia, PA 18182-0272

LastPass
125 High St
Suite 220
Boston, MA 02110-2737
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Turn Technologies, Inc
515 N State Street
14th Floor
Chicago, IL 60654

ONE SOURCE TECHNOLOGY LLC
1801 W Olympic Blvd
File 2418
Pasadena, CA 91199-2418

HubSpot Inc
2 Canal Park
Cambridge, MA 02141

JobTarget LLC
600 Summer St 5th Floor
Stamford, CT 06901

HeyMarket
333 Bryant Street
Suite 310
San Francisco, CA 94107-1475

Elegant Themes, Inc
977 W Napa St #1002
Sonoma, CA 95476-4748

Vercel Inc
440 N Barranca Ave
PMB 4133
Covina, CA 91723-1722

Figma
760 Market Street
Floor 10
San Francisco, CA 94102

Traliant Operationg LLC
PO Box 844090
Boston, MA 02284-4090

AppsFlyer Inc
100 1st Street
25th Floor
San Francisco, CA 94105
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Acorn East Packaging Products
16301 NW 15th Avenue
Miami Gardens , FL 33169

B&J Pets & Aquariums, Inc.
601 Delran Parkway
Delran, NJ 08075

Belfor USA Group, Inc.
185 Oakland Ave
Suite 150
Birmingham, MI 48009

Bennett Enterprises, Inc.
25889 Belle Porte Avenue
Harbor City, CA 90710

Century Trade Show Services, Inc.
6421 Pinecastle Blvd.
Ste 1
Orlando, FL 32809

CIF Group International, Inc,
11013 NW 30th Street
Unit #115
Doral, FL 33172

Coastal Handyman Pros.
17632 Metzler Lane
Suite 103
Huntington, CA 92647

Consolidated Burger Holdings
4477 Legendary Drive
Suite 1
Destin, FL 32541

Crane Pumps & Systems
420 Third Street
Piqua, OH 45356

D&W Fine Pack
1900 Pratt Blvd. Elk
Grove Village, IL 60007

Diamondback DTNM
1525 Coors Blvd Nw.
Albuquerque, NM 87121
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Ecology Recycling Services, LLC
16700 Valley View
Suite 340
La Mirada, CA 90638

Evolution Logistics
9800 NW 100TH RD
SUITE 1
Miami, FL 33175

FatSigns Orange
1108 E Katella Ave.
Orange, CA 92867

Florida Smoked Fish, LLC
550 NE 185th Street
Miami, FL 33179

Gamma Seafood Corporation
7850 N.W. South River Drive
Miami, Florida 33166

GL Strategic Staffing, Inc. (or Affiliates)
1709 Banks Rd. Bldg A #5
Margate , FL 33063

Grupo Cementos de Chihuahua
600 S Cherry St. Suite 1000
Glendale, CO 80246

Hyatt Die Cast Engineering
4656 Lincoln Ave
Cypress , CA 90630

Innovative Language Solutions, Inc.
PO Box 681
Oswego, IL 65403

Kingspan Light & Air, LLC
401 E Goetz Ave.
Santa Ana , CA 92707

Kitsuco LLC
2035 SW 31st Ave
Hallandale Beach, FL 33009
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Kosé Corporation
110 Greene Street
Suite 407/8
New York, NY 10012

KW Property Management & Consulting, LLC
8200 NW 33rd Street
Miami, FL 33122

Laurice El Badry Rahme, Ltd.
9 Bond Street
New York, NY 10012

Lewie's Burgers & Brews L.L.C.
711 S. Main Street
Lead, SD 57754

Lions Floor & Affiliates
9435 Sorenson Ave.
Santa Fe Springs, CA 90670

Little Caesar Enterprises, Inc.
2125 Woodward Avenue
Detroit, MI 48201

LSDT, LLC
21300 Victory Blvd
Suite 250
Woodland Hills, CA 97367

Miami Paint Centre
4950 E. Tenth Avenue
Hialeah, FL 33013

National Wire & Cable Corporation
136 San Fernando Road
Los Angeles, CA 90031

Nextant Aerospace
18601 Cleveland Parkway
Cleveland, OH 44135

Nilfisk
9435 Winnetka Ave. N.
Brooklyn Park, MN 55445
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Nothing to Something Commission, LLC
713 W. Canterbry Road
St. Louis , MO 63132

Pactiv Evergreen Group Holdings Inc.
1900 West Field Court
Lake Forest, Illinois 60045

Palmas Restaurant Group
PO Box 22136
Lake Buena Vista, FL 32830

Pasadena Banking Company
70 W. Palmetto Drive
Pasadena, CA 91105

PC International
7300 W 18 lane
Hialeah, FL 33014

Primo Water c/o Advantage xPO
201 East Fourth Street
Suite 800
Cincinnati, OH 45202

Qualawash Holdings, LLC
500 N Westshore Blvd Suite 435
Tampa , FL 33609

Quality Custom Distribution
14317 Lomitas Avenue
La Puente, CA 91746

Quality Importers Trading Company, Inc.
3350 Enterprise Avenue Suite 120.
Weston, FL 33331

Rinker Materials
391 B N. Beach Street
Ft. Worth, TX 76111

SCP Distributors LLC /
Superior Pool Products /
Horizon Distributors "SCP"
109 Northpark Blvd.
Covington, Louisiana 70433
